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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

      v.                      Hon. Trevor N. McFadden
                              Criminal No. 21-00037-TNM
TIMOTHY LOUIS HALE-CUSANELLI, Status May 28, 2021

                              Defendant.


  DEFENDANT’S MOTION FOR ASCERTAINMENT OF COUNSEL
AND REPORT TO THE COURT CONCERNING DISCOVERY AND PLEA
                            NEGOTIATIONS
    Defendant, by and through undersigned counsel, wishes to bring matters to

the Court’s attention in anticipation of the status hearing scheduled for May 28,

2021. The parties were last before the court on May 12, 2021. At that time the

defense expressed concern to the court regarding the paucity of discovery in this

case. To date the prosecution has disclosed the defendant’s custodial interview, a

surreptitiously recorded conversation between the defendant and a cooperating

witness who was wearing a recording device provided by law enforcement, two

portions of text messages between the defendant and two other civilians. The

prosecution has provided nothing else, particularly no evidence regarding what

defendant did on January 6 either outside or inside the Capitol. Nor any other
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evidence regarding the defendant’s activity in relation to the charged offenses.1

Additionally, the prosecution has not made any plea offer.

      On May 21, 2022, the prosecution and defense counsel had a telephone

conference to discuss outstanding discovery and possible negotiated disposition for

this case.2 At that time the prosecution advised they were not prepared to make

any plea offer nor were they prepared to disclose any additional discovery.

Additionally, they could not predict when additional discovery would be made

available. They did explain that the discovery was voluminous and expressed

assurances that they were working diligently to review the voluminous material

and make it available at some point in the future though there was no indication

when that would happen.

      Defendant is justifiably frustrated with the lack of progress undersigned

counsel has made in this case. Defendant has been preventively detained over four

months in a case where no one ever alleged that he ever did anything violent.

Frankly counsel is similarly frustrated with the lack of progress in this case.


1
 Defendant advises that other defendants have disclosed to him that other
defendants indicated they received discovery of recordings from inside the Capitol
where defendant has been seen peacefully walking in the hallways.

2
 Undersigned counsel does not wish these comments to be viewed as disparaging
regarding the individual prosecutor representing the United States in this case. She
has at all times been cordial, professional and conscientious. She is simply the
messenger. Undoubtedly it is not her decision to refuse to honor discovery
obligations.
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Counsel has been advised that defendant wishes counsel to be replaced. Counsel

brings that matter to the Court’s attention in advance so that it may be addressed at

the May 28, 2021, status hearing.

     WHEREFORE, it is respectfully requested the Court address defendant’s

request for replacement counsel and the prosecution’s failure to comply timely

with their discovery obligations.



                                         Respectfully submitted,

                                          /s/      ___________
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                                         Counsel for Timothy Hale-Cusanelli


                          CERTIFICATE OF SERVICE

      I certify that on May 22, 2021, the foregoing was electronically served
 by email to AUSA Kathryn Fifield. at Kathryn.Fifield@usdoj.gov


                                                 /s/_________________
                                                Jonathan Zucker
